          Case 23-40849              Doc 1            Filed 05/12/23 Entered 05/12/23 13:06:41                                 Desc Main
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 Fill in this information to identify the case:
 United States Bankruptcy Court for the:
 EASTERN DISTRICT OF TEXAS
                                                                                                                     Check if this is an
 Case number (if known):                                     Chapter       7                                         amended filing


Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and
the case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-
Individuals, is available.


1.   Debtor's name                     Paris Perfusion, LLC

2.   All other names debtor used
     in the last 8 years

     Include any assumed names,
     trade names and doing
     business as names


3.   Debtor's federal Employer
     Identification Number (EIN)           4      7      –      4      1        2    9         7   5     4

4.   Debtor's address                  Principal place of business                                     Mailing address, if different from principal
                                                                                                       place of business

                                       815 Johnson Woods Dr.
                                       Number         Street                                           Number     Street


                                                                                                       P.O. Box



                                       Paris                               TX       75460
                                       City                                State    ZIP Code           City                          State   ZIP Code


                                                                                                       Location of principal assets, if different
                                       Lamar                                                           from principal place of business
                                       County



                                                                                                       Number     Street




                                                                                                       City                          State   ZIP Code

5.   Debtor's website (URL)

6.   Type of debtor                            Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                               Partnership (excluding LLP)
                                               Other. Specify:




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Debtor Paris Perfusion, LLC                                                               Case number (if known)

7.   Describe debtor's business         A. Check one:

                                             Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                             Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                             Railroad (as defined in 11 U.S.C. § 101(44))
                                             Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                             Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                             Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                             None of the above


                                        B. Check all that apply:

                                             Tax-exempt entity (as described in 26 U.S.C. § 501)
                                             Investment company, including hedge fund or pooled investment vehicle (as defined in
                                             15 U.S.C. § 80a-3)
                                             Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                        C.   NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes




8.   Under which chapter of the         Check one:
     Bankruptcy Code is the
     debtor filing?                          Chapter 7
                                             Chapter 9
     A debtor who is a "small                Chapter 11. Check all that apply:
     business debtor" must check                             The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
     the first sub-box. A debtor as                          aggregate noncontingent liquidated debts (excluding debts owed to insiders or
     defined in § 1182(1) who elects                         affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
     to proceed under subchapter V                           recent balance sheet, statement of operations, cash-flow statement, and federal
     of chapter 11 (whether or not                           income tax return or if any of these documents do not exist, follow the procedure
     the debtor is a "small business                         in 11 U.S.C. § 1116(1)(B).
     debtor") must check the second
     sub-box.                                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                               noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                               less than $7,500,000, AND IT CHOOSES TO PROCEED UNDER SUBCHAPTER V
                                                               OF CHAPTER 11. If this sub-box is selected, attach the most recent balance
                                                               sheet, statement of operations, cash-flow statement, and federal income tax
                                                               return, or if any of these documents do not exist, follow the procedure in
                                                               11 U.S.C. § 1116(1)(B).

                                                               A plan is being filed with this petition.

                                                               Acceptances of the plan were solicited prepetition from one or more classes of
                                                               creditors, in accordance with 11 U.S.C. § 1126(b).

                                                               The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                               Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                               Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-
                                                               Individuals Filing for Bankruptcy Under Chapter 11 (Official Form 201A) with this
                                                               form.

                                                               The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                               Rule 12b-2.

                                             Chapter 12




Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 2
           Case 23-40849               Doc 1      Filed 05/12/23 Entered 05/12/23 13:06:41                                  Desc Main
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Debtor Paris Perfusion, LLC                                                                Case number (if known)

9.   Were prior bankruptcy                   No
     cases filed by or against
     the debtor within the last 8            Yes. District                                        When                    Case number
     years?                                                                                              MM / DD / YYYY

                                                  District                                        When                    Case number
     If more than 2 cases, attach a
                                                                                                         MM / DD / YYYY
     separate list.
                                                  District                                        When                    Case number
                                                                                                         MM / DD / YYYY

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes. Debtor                                                        Relationship
    affiliate of the debtor?
                                                    District                                                    When
     List all cases. If more than 1,                                                                                           MM / DD / YYYY
     attach a separate list.                        Case number, if known


                                                    Debtor                                                      Relationship

                                                    District                                                    When
                                                                                                                               MM / DD / YYYY
                                                    Case number, if known


11. Why is the case filed in            Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180
                                             days immediately preceding the date of this petition or for a longer part of such 180 days than in
                                             any other district.

                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this
                                             district.




Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 3
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Debtor Paris Perfusion, LLC                                                       Case number (if known)

12. Does the debtor own or            No
    have possession of any            Yes. Answer below for each property that needs immediate attention. Attach additional sheets if
    real property or personal              needed.
    property that needs
                                           Why does the property need immediate attention?               (Check all that apply.)
    immediate attention?
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                safety.
                                                What is the hazard?

                                                It needs to be physically secured or protected from the weather.

                                                It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-
                                                related assets or other options).

                                                Other


                                           Where is the property?
                                                                        Number      Street




                                                                        City                                       State      ZIP Code

                                           Is the property insured?

                                                No
                                                Yes. Insurance agency

                                                        Contact name

                                                        Phone


              Statistical and adminstrative information
13. Debtor's estimation of       Check one:
    available funds                  Funds will be available for distribution to unsecured creditors.
                                     After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                     creditors.

14. Estimated number of               1-49                              1,000-5,000                         25,001-50,000
    creditors                         50-99                             5,001-10,000                        50,001-100,000
                                      100-199                           10,001-25,000                       More than 100,000
                                      200-999

15. Estimated assets                  $0-$50,000                        $1,000,001-$10 million              $500,000,001-$1 billion
                                      $50,001-$100,000                  $10,000,001-$50 million             $1,000,000,001-$10 billion
                                      $100,001-$500,000                 $50,000,001-$100 million            $10,000,000,001-$50 billion
                                      $500,001-$1 million               $100,000,001-$500 million           More than $50 billion

16. Estimated liabilities             $0-$50,000                        $1,000,001-$10 million              $500,000,001-$1 billion
                                      $50,001-$100,000                  $10,000,001-$50 million             $1,000,000,001-$10 billion
                                      $100,001-$500,000                 $50,000,001-$100 million            $10,000,000,001-$50 billion
                                      $500,001-$1 million               $100,000,001-$500 million           More than $50 billion




Official Form 201                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                           page 4
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Debtor Paris Perfusion, LLC                                                              Case number (if known)


              Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
    authorized representative             this petition.
    of debtor
                                          I have been authorized to file this petition on behalf of the debtor.

                                          I have examined the information in this petition and have a reasonable belief that the information is
                                          true and correct.


                                       I declare under penalty of perjury that the foregoing is true and correct.

                                          Executed on 05/12/2023
                                                      MM / DD / YYYY



                                          X /s/ Barbara Magwire
                                              Signature of authorized representative of debtor
                                              Barbara Magwire
                                              Printed name
                                              President
                                              Title

18. Signature of attorney                X /s/ Bill F. Payne                                                      Date   05/12/2023
                                            Signature of attorney for debtor                                             MM / DD / YYYY

                                            Bill F. Payne
                                            Printed name
                                            Law Offices of Bill F. Payne, P.C.
                                            Firm name
                                            10501 N. Central Expressway, Suite 106
                                            Number          Street



                                            Dallas                                                     TX                 75231
                                            City                                                       State              ZIP Code


                                            (214) 562-6295                                             bill@wpaynelaw.com
                                            Contact phone                                              Email address
                                            15649500                                                   TX
                                            Bar number                                                 State




Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 5
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 Fill in this information to identify the case
 Debtor name          Paris Perfusion, LLC

 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number
                                                                                                                     Check if this is an
 (if known)
                                                                                                                     amended filing

Official Form 206A/B
Schedule A/B: Assets -- Real and Personal Property                                                                                               12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future
interest. Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also
include assets and properties which have no book value, such as fully depreciated assets or assets that were not capitalized.
In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and
Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any
pages added, write the debtor's name and case number (if known). Also identify the form and line number to which the
additional information applies. If an additional sheet is attached, include the amounts from the attachment in the total for the
pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a
fixed asset schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset
only once. In valuing the debtor's interest, do not deduct the value of secured claims. See the instructions to understand the
terms used in this form.



 Part 1:         Cash and cash equivalents

1.     Does the debtor have any cash or cash equivalents?
            No. Go to Part 2.
            Yes. Fill in the information below.


       All cash or cash equivalents owned or controlled by the debtor                                                        Current value of
                                                                                                                             debtor's interest

2.     Cash on hand

3.     Checking, savings, money market, or financial brokerage accounts (Identify all)

       Name of institution (bank or brokerage firm)                   Type of account                   Last 4 digits of
                                                                                                        account number
3.1.    Capital One Savings Account ending 4605                       Savings account                                                        $8.59
3.2.    Capital One Checking Account ending 3868
        Account is negative $3,547.43                                 Checking account                                                       $0.00
4.     Other cash equivalents       (Identify all)

       Name of institution (bank or brokerage firm)

5.     Total of Part 1
       Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.
                                                                                                                                             $8.59


 Part 2: Deposits and prepayments

6.     Does the debtor have any deposits or prepayments?

           No. Go to Part 3.
           Yes. Fill in the information below.




Official Form 206A/B                                 Schedule A/B: Assets -- Real and Personal Property                                          page 1
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Debtor       Paris Perfusion, LLC                                                         Case number (if known)
             Name

                                                                                                                                Current value of
                                                                                                                                debtor's interest
7.   Deposits, including security deposits and utility deposits

     Description, including name of holder of deposit

8.   Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

     Description, including name of holder of prepayment

9.   Total of Part 2.
                                                                                                                                                $0.00
     Add lines 7 through 8. Copy the total to line 81.

 Part 3: Accounts receivable

10. Does the debtor have any accounts receivable?

         No. Go to Part 4.
         Yes. Fill in the information below.
                                                                                                                                Current value of
                                                                                                                                debtor's interest
11. Accounts receivable

11a. 90 days old or less:                                  –                                        = .......................
                            face amount                        doubtful or uncollectible accounts

11b. Over 90 days old:                                     –                                        = .......................
                            face amount                        doubtful or uncollectible accounts

12. Total of Part 3
                                                                                                                                                $0.00
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4: Investments

13. Does the debtor own any investments?

         No. Go to Part 5.
         Yes. Fill in the information below.
                                                                                           Valuation method                     Current value of
                                                                                           used for current value               debtor's interest
14. Mutual funds or publicly traded stocks not included in Part 1

         Name of fund or stock:
15. Non-publicly traded stock and interests in incorporated and unincorporated
    businesses, including any interest in an LLC, partnership, or joint venture

      Name of entity:                                          % of ownership:
16. Government bonds, corporate bonds, and other negotiable and
    non-negotiable instruments not included in Part 1

       Describe:
17. Total of Part 4
    Add lines 14 through 16. Copy the total to line 83.
                                                                                                                                                $0.00


 Part 5: Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?

         No. Go to Part 6.
         Yes. Fill in the information below.




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                                   page 2
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Debtor       Paris Perfusion, LLC                                                      Case number (if known)
             Name

     General description                         Date of the       Net book value of    Valuation method          Current value of
                                                 last physical     debtor's interest    used for current value    debtor's interest
                                                 inventory         (Where available)
19. Raw materials                                MM/DD/YYYY

20. Work in progress

21. Finished goods, including goods held for resale

22. Other inventory or supplies

23. Total of Part 5
                                                                                                                                  $0.00
    Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
        No
        Yes

25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
       No
       Yes. Book value                            Valuation method                                   Current value

26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
       No
       Yes

 Part 6: Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming or fishing-related assets (other than titled motor vehicles and land)?

         No. Go to Part 7.
         Yes. Fill in the information below.

     General description                                           Net book value of    Valuation method          Current value of
                                                                   debtor's interest    used for current value    debtor's interest
                                                                   (Where available)
28. Crops--either planted or harvested

29. Farm animals Examples: Livestock, poultry, farm-raised fish

30. Farm machinery and equipment (Other than titled motor vehicles)

31. Farm and fishing supplies, chemicals, and feed

32. Other farming and fishing-related property not already listed in Part 6

33. Total of Part 6.
                                                                                                                                  $0.00
    Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?
         No
         Yes. Is any of the debtor's property stored at the cooperative?
                   No
                   Yes

35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
       No
       Yes. Book value                            Valuation method                                   Current value

36. Is a depreciation schedule available for any of the property listed in Part 6?
         No
         Yes

37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
       No
       Yes


Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                     page 3
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Debtor         Paris Perfusion, LLC                                                     Case number (if known)
               Name


 Part 7: Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

         No. Go to Part 8.
         Yes. Fill in the information below.

     General description                                            Net book value of    Valuation method         Current value of
                                                                    debtor's interest    used for current value   debtor's interest
                                                                    (Where available)
39. Office furniture

     Chair
     Filing Cabinets
     Small Cabinet                                                                                                             $625.00
40. Office fixtures

41. Office equipment, including all computer equipment and
    communication systems equipment and software

     Printer                                                                                                                   $300.00
42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles

43. Total of Part 7.
                                                                                                                               $925.00
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?
         No
         Yes

45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
       No
       Yes

 Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

         No. Go to Part 9.
         Yes. Fill in the information below.

     General description                                            Net book value of    Valuation method         Current value of
     Include year, make, model, and identification numbers          debtor's interest    used for current value   debtor's interest
     (i.e., VIN, HIN, or N-number)                                  (Where available)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles
48. Watercraft, trailers, motors, and related accessories Examples: Boats
    trailers, motors, floating homes, personal watercraft, and fishing vessels

49. Aircraft and accessories

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

51. Total of Part 8.
    Add lines 47 through 50. Copy the total to line 87.
                                                                                                                                  $0.00

52. Is a depreciation schedule available for any of the property listed in Part 8?
         No
         Yes



Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                     page 4
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Debtor       Paris Perfusion, LLC                                                        Case number (if known)
             Name

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
       No
       Yes

 Part 9: Real property

54. Does the debtor own or lease any real property?

         No. Go to Part 10.
         Yes. Fill in the information below.

55.    Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
       Description and location of property           Nature and extent      Net book value of     Valuation method       Current value of
       Include street address or other description    of debtor's interest   debtor's interest     used for current       debtor's interest
       such as Assessor Parcel Number (APN),          in property            (Where available)     value
       and type of property (for example,
       acreage, factory, warehouse, apartment or
       office building), if available.

56. Total of Part 9.
                                                                                                                                          $0.00
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
         No
         Yes

58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
       No
       Yes

Part 10: Intangibles and Intellectual Property

59. Does the debtor have any interests in intangibles or intellectual property?

         No. Go to Part 11.
         Yes. Fill in the information below.

      General description                                          Net book value of      Valuation method                Current value of
                                                                   debtor's interest      used for current value          debtor's interest
                                                                   (Where available)
60. Patents, copyrights, trademarks, and trade secrets

61. Internet domain names and websites

62. Licenses, franchises, and royalties

63. Customer lists, mailing lists, or other compilations

64. Other intangibles, or intellectual property

65. Goodwill

66. Total of Part 10.
                                                                                                                                          $0.00
    Add lines 60 through 65. Copy the total to line 89.

67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
       No
       Yes

68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         No
         Yes




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                             page 5
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Debtor       Paris Perfusion, LLC                                                        Case number (if known)
             Name

69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
       No
       Yes

Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

         No. Go to Part 12.
         Yes. Fill in the information below.

                                                                                                                  Current value of
                                                                                                                  debtor's interest
71. Notes receivable

     Description (include name of obligor)

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

73. Interests in insurance policies or annuities

74. Causes of action against third parties (whether or not a lawsuit has been filed)

75. Other contingent and unliquidated claims or causes of action of every nature,
    including counterclaims of the debtor and rights to set off claims

76. Trusts, equitable or future interests in property

77. Other property of any kind not already listed Examples: Season tickets, country club membership

78. Total of Part 11.
                                                                                                                                  $0.00
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
       No
       Yes




Official Form 206A/B                            Schedule A/B: Assets -- Real and Personal Property                                    page 6
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Debtor           Paris Perfusion, LLC                                                                                Case number (if known)
                 Name


 Part 12: Summary

In Part 12 copy all of the totals from the earlier parts of the form.

      Type of property                                                              Current value of                             Current value of
                                                                                    personal property                            real property


80. Cash, cash equivalents, and financial assets.                                                    $8.59
    Copy line 5, Part 1.

81. Deposits and prepayments. Copy line 9, Part 2.                                                   $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                       $0.00

83. Investments. Copy line 17, Part 4.                                                               $0.00

84. Inventory. Copy line 23, Part 5.                                                                 $0.00

85. Farming and fishing-related assets.                                                              $0.00
    Copy line 33, Part 6.

86. Office furniture, fixtures, and equipment;                                                   $925.00
    and collectibles. Copy line 43, Part 7.

87. Machinery, equipment, and vehicles.                                                              $0.00
    Copy line 51, Part 8.

88. Real property. Copy line 56, Part 9.......................................................................................               $0.00

89. Intangibles and intellectual property.                                                           $0.00
    Copy line 66, Part 10.

90. All other assets. Copy line 78, Part 11.                                      +                  $0.00

91. Total. Add lines 80 through 90 for each column.                        91a.                  $933.59         +     91b.                  $0.00


92. Total of all property on Schedule A/B. Lines 91a + 91b = 92......................................................................................................... $933.59




Official Form 206A/B                                        Schedule A/B: Assets -- Real and Personal Property                                                           page 7
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 Fill in this information to identify the case:
 Debtor name          Paris Perfusion, LLC

 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number                                                                                                           Check if this is an
 (if known)                                                                                                            amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                          12/15
Be as complete and accurate as possible.

1.     Do any creditors have claims secured by debtor's property?
       No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.


 Part 1:         List Creditors Who Have Secured Claims
2.     List in alphabetical order all creditors who have secured claims. If a creditor has more                Column A               Column B
       than one secured claim, list the creditor separately for each claim.                                    Amount of claim        Value of collateral
                                                                                                               Do not deduct the      that supports
                                                                                                               value of collateral.   this claim

 2.1      Creditor's name                                      Describe debtor's property that is
          Capital One                                          subject to a lien                                    $190,315.78                  $933.59

          Creditor's mailing address                           All Business Assets
          PO Box 85111                                         Describe the lien
                                                               Blanket lien on all assets
                                                               Is the creditor an insider or related party?
          Richmond                   VA       23285                 No
                                                                    Yes
          Creditor's email address, if known
                                                               Is anyone else liable on this claim?
          Date debt was incurred       5/24/2018                   No
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
          Last 4 digits of account
          number                          2    1      9    5   As of the petition filing date, the claim is:
          Do multiple creditors have an interest in            Check all that apply.
          the same property?                                       Contingent
              No                                                   Unliquidated
              Yes. Specify each creditor, including this           Disputed
              creditor, and its relative priority.




3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the
       Additional Page, if any.                                                                                     $190,315.78


Official Form 206D                            Schedule D: Creditors Who Have Claims Secured by Property                                            page 1
           Case 23-40849             Doc 1        Filed 05/12/23 Entered 05/12/23 13:06:41                             Desc Main
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Debtor       Paris Perfusion, LLC                                                      Case number (if known)

 Part 2:      List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be
listed are collection agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed,
copy this page.

         Name and address                                                             On which line in Part 1        Last 4 digits of
                                                                                      did you enter the              account number
                                                                                      related creditor?              for this entity

         Capital One                                                                   Line    2.1
         1680 Capital One Drive




         McLean                                       VA       22102




Official Form 206D                 Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                  page 2
            Case 23-40849              Doc 1       Filed 05/12/23 Entered 05/12/23 13:06:41                            Desc Main
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 Fill in this information to identify the case:
 Debtor              Paris Perfusion, LLC

 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number                                                                                                   Check if this is an
 (if known)                                                                                                    amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                        12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with
NONPRIORITY unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim.
Also list executory contracts on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G:
Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left.
If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:        List All Creditors with PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
           No. Go to Part 2.
           Yes. Go to line 2.

2.     List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or part.
       If more space is needed for priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                            Total claim         Priority amount

     2.1   Priority creditor's name and mailing address         As of the petition filing date, the
                                                                claim is: Check all that apply.
                                                                    Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:

Date or dates debt was incurred
                                                                Is the claim subject to offset?
                                                                     No
Last 4 digits of account                                             Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)(     )




Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                           page 1
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Debtor        Paris Perfusion, LLC                                                     Case number (if known)

 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

3.    List in alphabetical order all of the creditors with nonpriority unsecured claims. If more space is needed for nonpriority unsecured
      claims, fill out and attach the Additional Page of Part 2.
                                                                                                                       Amount of claim

     3.1   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:
                                                                   Check all that apply.
                                                                       Contingent
                                                                       Unliquidated
                                                                       Disputed

                                                                   Basis for the claim:



Date or dates debt was incurred                                    Is the claim subject to offset?
                                                                        No
Last 4 digits of account number                                         Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                           page 2
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Debtor      Paris Perfusion, LLC                                              Case number (if known)

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5.   Add the amounts of priority and nonpriority unsecured claims.

                                                                                                    Total of claim amounts

5a. Total claims from Part 1                                                              5a.                       $0.00

5b. Total claims from Part 2                                                              5b.   +                   $0.00


5c. Total of Parts 1 and 2                                                                5c.                       $0.00
    Lines 5a + 5b = 5c.




Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                   page 3
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 Fill in this information to identify the case:
 Debtor name         Paris Perfusion, LLC

 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number                                                 Chapter       7                                      Check if this is an
 (if known)                                                                                                       amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                        12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with the debtor's other schedules. There is nothing else to report on this form.
         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property
         (Official Form 206A/B).

2.   List all contracts and unexpired leases                                           State the name and mailing address for all other
                                                                                       parties with whom the debtor has an executory
                                                                                       contract or unexpired lease




Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                                             page 1
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 Fill in this information to identify the case:
 Debtor name         Paris Perfusion, LLC

 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number                                                                                                        Check if this is an
 (if known)                                                                                                         amended filing


Official Form 206H
Schedule H: Codebtors                                                                                                                         12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries
consecutively. Attach the Additional Page to this page.


1.    Does the debtor have any codebtors?
          No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
          Yes

2.    In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the
      schedules of creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is
      owed and each schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor
      separately in Column 2.

         Column 1: Codebtor                                                                    Column 2: Creditor

                                                                                                                              Check all schedules
       Name                            Mailing address                                        Name                            that apply:

2.1    Jon & Barbara Magwire           815 Johnson Woods Dr.                                  Capital One                           D
                                       Number      Street                                                                           E/F
                                                                                                                                    G

                                       Paris                          TX      75460
                                       City                           State   ZIP Code




Official Form 206H                                            Schedule H: Codebtors                                                           page 1
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 Fill in this information to identify the case:


 Debtor Name Paris Perfusion, LLC

 United States Bankruptcy Court for the:                      EASTERN DISTRICT OF TEXAS


 Case number (if known):                                                                                                                                                                         Check if this is an
                                                                                                                                                                                                 amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                       12/15



 Part 1:            Summary of Assets

1.   Schedule A/B: Assets--Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                 $0.00
         Copy line 88 from Schedule A/B........................................................................................................................................................................

     1b. Total personal property:
                                                                                                                                                                                           $933.59
         Copy line 91A from Schedule A/B........................................................................................................................................................................

     1c. Total of all property
                                                                                                                                                                                             $933.59
         Copy line 92 from Schedule A/B........................................................................................................................................................................


 Part 2:            Summary of Liabilities

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D...................................................... $190,315.78

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                 $0.00
         Copy the total claims from Part 1 from line 5a of Schedule E/F..............................................................................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
                                                                                                                                              +                        $0.00
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F...................................................................................................................


4.   Total liabilities
     Lines 2 + 3a + 3b........................................................................................................................................................................     $190,315.78




Official Form 206Sum                                            Summary of Assets and Liabilities for Non-Individuals                                                                                       page 1
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 Fill in this information to identify the case and this filing:
 Debtor Name         Paris Perfusion, LLC

 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number
 (if known)

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                              12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included
in the document, and any amendments of those documents. This form must state the individual's position or relationship to
the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or
both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


               Declaration and signature

             I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership;
             or another individual serving as a representative of the debtor in this case.

             I have examined the information in the documents checked below and I have a reasonable belief that the information is true and
             correct:


                    Schedule A/B: Assets--Real and Personal Property (Official Form 206A/B)

                    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                    Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                    Schedule H: Codebtors (Official Form 206H)

                    A Summary of Assets and Liabilities for Non-Individuals (Official Form 206-Summary)

                    Amended Schedule

                    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
                    (Official Form 204)

                    Other document that requires a declaration


             I declare under penalty of perjury that the foregoing is true and correct.




             Executed on 05/12/2023                       X /s/ Barbara Magwire
                         MM / DD / YYYY                       Signature of individual signing on behalf of debtor


                                                              Barbara Magwire
                                                              Printed name
                                                              President
                                                              Position or relationship to debtor




Official Form 202                       Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name        Paris Perfusion, LLC

 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number
                                                                                                                Check if this is an
 (if known)
                                                                                                                amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                  04/22

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write the debtor's name and case number (if known).


 Part 1:        Income
1.   Gross revenue from business

         None

Identify the beginning and ending dates of the debtor's fiscal year,           Sources of revenue                             Gross revenue
which may be a calendar year                                                   Check all that apply.                          (before deductions
                                                                                                                              and exclusions


From the beginning of the                                                          Operating a business
                                 From    01/01/2023      to   Filing date
fiscal year to filing date:                                                        Other                                               $36,616.00
                                        MM / DD / YYYY

                                                                                   Operating a business
For prior year:                  From    01/01/2022      to    12/31/2022
                                        MM / DD / YYYY        MM / DD / YYYY       Other                                              $354,515.00

                                                                                   Operating a business
For the year before that:        From    01/01/2021      to    12/31/2021
                                        MM / DD / YYYY        MM / DD / YYYY       Other                                              $283,252.00

2.   Non-business revenue
     Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from
     lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

         None

 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy
3.   Certain payments or transfers to creditors within 90 days before filing this case

     List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days
     before filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be
     adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

         None

      Creditor's name and address                             Dates            Total amount or value      Reasons for payment or transfer
                                                                                                          Check all that apply
3.1. Capital One                                              3/2023                 $3,494.00               Secured debt
      Creditor's name
      PO Box 85111                                                                                           Unsecured loan repayments
      Street                                                                                                 Suppliers or vendors
                                                                                                             Services
      Richmond                        VA      23285                                                          Other
      City                            State   ZIP Code




Official Form 207                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 1
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Debtor         Paris Perfusion, LLC                                                          Case number (if known)
               Name

4.   Payments or other transfers of property made within 1 year before filing this case that benefited any insider

     List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
     guaranteed or co-signed by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
     $7,575. (This amount may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of
     adjustment.) Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor
     and their relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and
     any managing agent of the debtor. 11 U.S.C. § 101(31).


         None

      Insider's name and address                                   Dates            Total amount or value        Reasons for payment or transfer
4.1. Jon Magwire                                                   2022/2023             $101,797.00             Gross Salary & Distributions
      Insider's name
      815 Johnson Woods Drive
      Street


      Paris                             TX       75460
      City                              State    ZIP Code

      Relationship to debtor
      Vice President

      Insider's name and address                                   Dates            Total amount or value        Reasons for payment or transfer
4.2. Barbara Magwire                                               2022/2023             $180,845.00             Gross Salary & Distributions
      Insider's name
      815 Johnson Woods Drive
      Street


      Paris                             TX       75460
      City                              State    ZIP Code

      Relationship to debtor
      President

5.   Repossessions, foreclosures, and returns

     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a
     creditor, sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in
     line 6.

         None

6.   Setoffs

     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from
     an account of the debtor without permission or refused to make a payment at the debtor's direction from an account of the debtor because
     the debtor owed a debt.

         None




Official Form 207                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 2
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Debtor          Paris Perfusion, LLC                                                       Case number (if known)
                Name


 Part 3:          Legal Actions or Assignments
7.   Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity--within 1 year before filing this case.

          None

8.   Assignments and receivership

     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None

 Part 4:          Certain Gifts and Charitable Contributions
9.   List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the
     aggregate value of the gifts to that recipient is less than $1,000

          None

 Part 5:          Certain Losses
10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

 Part 6:          Certain Payments or Transfers
11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year
    before the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or
    restructuring, seeking bankruptcy relief, or filing a bankruptcy case.

          None

         Who was paid or who received the transfer?            If not money, describe any property              Dates               Total amount
                                                               transferred                                                          or value
 11.1. Law Offices of Bill F. Payne, P.C.                                                                       04/18/2023              $3,000.00

         Address

         10501 N. Central Expressway, Suite 106
         Street


         Dallas                      TX       75231
         City                        State    ZIP Code

         Email or website address



         Who made the payment, if not debtor?
         Jon and Barbara Magwire




Official Form 207                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 3
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Debtor        Paris Perfusion, LLC                                                         Case number (if known)
              Name

12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing
    of this case to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

         None

13. Transfers not already listed on this statement
    List any transfers of money or other property--by sale, trade, or any other means--made by the debtor or a person acting on behalf of the
    debtor within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or
    financial affairs. Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this
    statement.

         None

 Part 7:        Previous Locations
14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

         Does not apply


 Part 8:        Health Care Bankruptcies
15. Health Care bankruptcies

     Is the debtor primarily engaged in offering services and facilities for:

         diagnosing or treating injury, deformity, or disease, or

         providing any surgical, psychiatric, drug treatment, or obstetric care?

         No. Go to Part 9.
         Yes. Fill in the information below.

 Part 9:        Personally Identifiable Information
16. Does the debtor collect and retain personally identifiable information of customers?

         No.
         Yes. State the nature of the information collected and retained

                Does the debtor have a privacy policy about that information?
                   No.
                   Yes.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b) or
    other pension or profit-sharing plan made available by the debtor as an employee benefit?

         No. Go to Part 10.
         Yes. Does the debtor serve as plan administrator?
                  No. Go to Part 10.
                  Yes. Fill in below:




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Debtor       Paris Perfusion, LLC                                                           Case number (if known)
             Name


 Part 10:       Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor's name, or for the debtor's benefit,
    closed, sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts, certificates of deposit, and shares in banks, credit unions, brokerage
    houses, cooperatives, associations, and other financial institutions.

         None

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before
    filing this case.

         None

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a
    building in which the debtor does business.

         None

 Part 11:       Property the Debtor Holds or Controls That the Debtor Does Not Own
21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held
    in trust. Do not list leased or rented property.


         None

 Part 12:       Details About Environmental Information
For the purpose of Part 12, the following definitions apply:

   Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless or
   the medium affected (air, land, water, or any other medium).


   Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
   formerly owned, operated, or utilized.

   Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
   similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law?
    Include settlements and orders.

         No
         Yes. Provide details below.




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Debtor        Paris Perfusion, LLC                                                        Case number (if known)
              Name

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in
    violation of an environmental law?

          No
          Yes. Provide details below.

24. Has the debtor notified any govermental unit of any release of hazardous material?

          No
          Yes. Provide details below.

 Part 13:        Details About the Debtor's Business or Connections to Any Business
25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this
    case. Include this information even if already listed in the Schedules.

          None

26. Books, records, and financial statements

     26a.   List all accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing this case.

                  None

                 Name and address                                                                  Dates of service

      26a.1. Wells & Kapp                                                                          From        2018          To    present
                 Name
                 1323 Lamar Sr., Ste. D
                 Street


                 Paris                                       TX          75460
                 City                                        State       ZIP Code

     26b.   List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial
            statement within 2 years before filing this case.

                  None

     26c.   List all firms or individuals who were in possession of the debtor's books of account and records when this case is filed.

                  None

                 Name and address                                                              If any books of account and records are
                                                                                               unavailable, explain why
         26c.1. Wells & Kapp
                 Name
                 1323 Lamar Ave., Ste. D
                 Street


                 Paris                                       TX          75460
                 City                                        State       ZIP Code




Official Form 207                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 6
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Debtor           Paris Perfusion, LLC                                                           Case number (if known)
                 Name

     26d.       List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a
                financial statement within 2 years before filing this case.

                    None

27. Inventories
    Have any inventories of the debtor's property been taken within 2 years before filing this case?

          No.
          Yes. Give the details about the two most recent inventories.

28. List the debtor's officers, directors, managing members, general partners, members in control, controlling shareholders,
    or other people in control of the debtor at the time of the filing of this case.


Name                                         Address                                      Position and nature of any interest         % of interest, if any

Barbara Magwire                              815 Johnson Woods Dr.                        President                                            51%
                                             Paris, TX 75460
Jon Magwire                                  815 Johnson Woods Dr.                        Vice President                                       49%
                                             Paris, TX 75460
29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners,
    members in control of the debtor, or shareholders in control of the debtor who no longer hold these positions?

          No
          Yes. Identify below.

Name                                         Address                                      Position and nature of        Period during which position
                                                                                          any interest                  or interest was held
30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
    bonuses, loans, credits on loans, stock redemptions, and options exercised?

          No
          Yes. Identify below.

         Name and address of recipient                     Amount of money or description            Dates            Reason for
                                                           and value of property                                      providing the value


 30.1. Jon Magwire                                         $101,797.00                               2022/2023        Wages & Distributions
         Name
         815 Johnson Woods Dr.
         Street


         Paris                      TX      75460
         City                       State   ZIP Code

         Relationship to debtor
         Vice President

         Name and address of recipient                     Amount of money or description            Dates            Reason for
                                                           and value of property                                      providing the value


 30.2. Barb Magwire                                        $180,845.00                               2022/2023        Wages & Distributions
         Name
         815 Johnson Woods Dr.
         Street


         Paris                      TX      75460
         City                       State   ZIP Code

         Relationship to debtor
         President


Official Form 207                        Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 7
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Debtor        Paris Perfusion, LLC                                                      Case number (if known)
              Name

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

         No
         Yes. Identify below.

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

         No
         Yes. Identify below.

 Part 14:      Signature and Declaration
WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is
true and correct.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on 05/12/2023
            MM / DD / YYYY



X /s/ Barbara Magwire                                                             Printed name Barbara Magwire
   Signature of individual signing on behalf of the debtor

   Position or relationship to debtor President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
    No
    Yes




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B2030 (Form 2030) (12/15)
                                                          UNITED STATES BANKRUPTCY COURT
                                                              EASTERN DISTRICT OF TEXAS
                                                                  SHERMAN DIVISION
In re Paris Perfusion, LLC                                                                                                          Case No.

                                                                                                                                    Chapter            7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept.........................................................................................................
                                                                                                                                 $3,000.00
     Prior to the filing of this statement I have received.............................................................................................
                                                                                                                                $3,000.00
     Balance Due..............................................................................................................................................................
                                                                                                                                                        $0.00

2. The source of the compensation paid to me was:
                       Debtor                                    Other (specify)

3. The source of compensation to be paid to me is:
                       Debtor                                    Other (specify)

4.         I have not agreed to share the above-disclosed compensation with any other person unless they are members and
           associates of my law firm.

           I have agreed to share the above-disclosed compensation with another person or persons who are not members or
           associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
           compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
     bankruptcy;

     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
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B2030 (Form 2030) (12/15)

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
   Representation of Debtor in any adversary proceedings, exemption litigation, stay litigation, or Rule 2004
   examinations.




                                                          CERTIFICATION
     I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
  representation of the debtor(s) in this bankruptcy proceeding.


                    05/12/2023                       /s/ Bill F. Payne
                       Date                          Bill F. Payne                                Bar No. 15649500
                                                     Law Offices of Bill F. Payne, P.C.
                                                     10501 N. Central Expressway, Suite 106
                                                     Dallas, Texas 75231
                                                     Phone: (214) 562-6295




  /s/ Barbara Magwire
  Barbara Magwire
  President
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                                           UNITED STATES BANKRUPTCY COURT
                                               EASTERN DISTRICT OF TEXAS
                                                   SHERMAN DIVISION
  IN RE:    Paris Perfusion, LLC                                                     CASE NO

                                                                                     CHAPTER   7

                                              VERIFICATION OF MAILING LIST

       In accordance with Local Rule 1002, the above named Debtor hereby verifies that the attached list of creditors is
true and correct to the best of my knowledge. I also certify that the attached mailing list

   [X] is the first mailing list filed in this case.

   [ ] adds entities not listed on previously filed mailing list(s).

   [ ] changes or corrects names and address on previously filed mailing lists.




Date 5/12/2023                                             Signature   /s/ Barbara Magwire
                                                                       Barbara Magwire
                                                                       President




Date                                                       Signature
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                        Attorney General of Texas
                        Bankruptcy Reporting Contact
                        OAG/CSD.Mail Code 38
                        PO Box 12017
                        Austin, TX 78711-2017

                        Attorney General of Texas
                        Taxation Division - Bankruptcy
                        Box 12548 Capital Station
                        Austin, TX 78711


                        Capital One
                        PO Box 85111
                        Richmond, VA   23285



                        Capital One
                        1680 Capital One Drive
                        McLean, VA 22102



                        Internal Revenue Service
                        PO Box 7346
                        Philadelphia, PA 19101-7346



                        Law Offices of Bill F. Payne, P.C.
                        10501 N. Central Expressway, Suite 106
                        Dallas, Texas 75231



                        Paris Perfusion, LLC
                        815 Johnson Woods Dr.
                        Paris, TX 75460



                        Texas Comptroller of Public Accounts
                        Office of the Attorney General
                        Bankruptcy Collections Div.
                        PO Box 12548, MC-008
                        Austin, TX 78711-2548

                        Texas Workforce Commission
                        TEC Building Tax Dept.
                        101 E. 15th Street
                        Austin, TX 78778
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                        U.S. Trustee
                        Office of the U.S. Trustee
                        110 N. College Ave.
                        Suite 300
                        Tyler, TX 75702-7231

                        US Attorney
                        110 North College Ave., Ste. 700
                        Tyler, TX 75702-0204



                        US Attorney General
                        Department of Justice
                        Main Justice Building
                        10th & Constitution Ave., NW
                        Washington, DC 20530-0001

                        US Trustee
                        Office of the US Trustee
                        110 N. College Ave., Ste. 300
                        Tyler, TX 75702-7231
